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 5
                                  UNITED STATES DISTRICT COURT
 6                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 7
      MAHSA PARVIZ,                                        CASE NO. 2:23-cv-01407-JHC
 8
                              Petitioner,                  ORDER
 9
                 v.
10
      HOWARD BARRON; COLETTE PETERS,
11
                              Respondents.
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14           This matter comes before the Court on Petitioner’s requests for paper copies of all filings in

15   this matter. Dkt. # 69, 73. 1 Pursuant to this District’s fee schedule, paper copies of unsealed

     documents can be mailed upon request for $0.50 per page (with an additional per document fee if the
16
     copies must be certified). United States District Court for the Western District of Washington,
17
     Schedule of Fees, https://www.wawd.uscourts.gov/sites/wawd/files/FeeSchedule.pdf (revised Dec. 1,
18
     2023). Requests for copies are processed by the Clerk’s Office. See United States District Court for
19
     the Western District of Washington, Copy Requests, https://www.wawd.uscourts.gov/attorneys/trial-
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     support/copy-request (to request copies of documents, individuals must “[c]omplete the Copy
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             1
               Although Petitioner’s request at Dkt. # 73 notes on August 27, 2024, the Court addresses it here
24   because it is substantially similar to Petitioner’s first request at Dkt. # 69.


     ORDER - 1
               Case 2:23-cv-01407-JHC Document 74 Filed 08/08/24 Page 2 of 3




 1   Request Form (PDF) and e-mail it to questions@wawd.uscourts.gov, mail it, or bring it to the Clerk’s

 2   Office”). Attached to this order is the Copy Request Form.

            Petitioner has not paid the requisite fee or sent the Copy Request Form to the Clerk’s Office.
 3
     Unless and until Plaintiff pays the applicable copying fee and properly submits her request through the
 4
     Clerk’s Office, her requests for paper copies are DENIED.
 5
            The Clerk is directed to send uncertified copies of this Order to all counsel of record and
 6
     to any party appearing pro se at the party’s last known address.
 7
            Dated this 8th day of August, 2024.
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                                                            John H. Chun
10                                                          United States District Judge
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     ORDER - 2
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